33 F.3d 53
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Beautanous COOR, a/k/a Boot, Defendant Appellant.
    No. 94-6659.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1994.Decided Aug. 17, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CR-92-72-1-5-F, CA-94-310-5-F)
      Beautanous Coor, appellant pro se.
      Jane H. Jolly, Asst. U.S. Atty., Raleigh, NC, for appellee.
      E.D.N.C.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion and his motion for reconsideration.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Coor, Nos.  CR-92-72-1-5-F;  CA-94-310-5-F (E.D.N.C. May 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    